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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                        Plaintiff,            )
                                              )
v.                                            )       Case No. 2:22-CV-04022-BCW
                                              )
STATE OF MISSOURI, et al.,                    )
                                              )
                        Defendants.           )

                                       AMENDED ORDER

         Before the Court is the parties’ Joint Motion to Amend Order of March 9, 2023. (Doc.

#98). The Court, being duly advised of the premises and consistent with the parties’ agreement,

grants said motion.

         On March 9, 2023, the Court issued an Order temporarily administratively staying the

Order and Judgment entered in this case on March 7, 2023 (Doc. #88), pending the Eighth Circuit’s

consideration of whether the Order and Judgment should be stayed pending appeal. (Doc. #96). In

the Order, the Court directed the parties to meet and confer as to a reasonable expedited briefing

schedule such that the motion to stay pending appeal would be fully briefed before the Eighth

Circuit by March 16, 2023. (Doc. #96).

         On March 10, 2023, the parties notified the Court of their intent to jointly seek amendment

of the March 9, 2023 Order. On March 13, 2023, the parties filed the instant joint motion requesting

that the Court amend the March 9, 2013 Order to reflect that the motion to stay would be fully

briefed before the Eighth Circuit by at latest March 20, 2023. Consistent with the parties’

agreement, the Court grants the motion and amends the March 9, 2023 Order as follows. It is

hereby



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       ORDERED Defendants may file their expected appellate motion to stay no later than

March 13, 2023. Thereafter, Plaintiff’s response shall be filed no later than March 17, 2023. Then,

Defendants’ reply, if any, shall be filed no later than March 20, 2023. In sum, the Court amends

the March 9, 2023 Order to reflect that the motion to stay pending appeal shall be fully briefed for

the Eighth Circuit’s consideration by March 20, 2023.

       IT IS SO ORDERED.




DATE: March 13, 2023                          /s/ Brian C. Wimes
                                              JUDGE BRIAN C. WIMES
                                              UNITED STATES DISTRICT COURT




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